AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                   Jan 14, 2025
                                     UNITED STATES DISTRICT COURT                                                     s/ JDH
                                                              for the
                                                  Eastern District
                                                __________         of Wisconsin
                                                            District  of __________

                  United States of America                       )
                             v.                                  )
                                                                 )      Case No.   25-M-312 (SCD)
                                                                 )
        Glenn E. CONROY, Jr., DOB: xx/xx/1985                    )
                                                                 )
                                                                 )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               May 2 and May 4, 2022          in the county of             Milwaukee                    in the
      Eastern          District of          Wisconsin        , the defendant(s) violated:

            Code Section                                                   Offense Description
Title 18, U.S.C. §§ 2113(a) and (d)            Armed Bank Robbery
and
Title 18, U.S.C. § 924(c)(1) (A)(ii)           Brandishing a Firearm During a Crime of Violence




         This criminal complaint is based on these facts:
Please see attached Affidavit




         ✔ Continued on the attached sheet.
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                                                                                            Complainant’s signature

                                                                                      Ian Byrne, Special Agent - FBI
                                                                                             Printed name and title

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Date:     1-14-25
                                                                                               Judge’s signature

City and state:                    Milwaukee, Wisconsin                         Stephen C. Dries, U.S. Magistrate Judge
                                                                                             Printed name and title


                   Case 2:25-mj-00312-SCD                Filed 01/14/25       Page 1 of 7          Document 1
                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Ian Byrne, being first duly sworn on oath, on information and belief state:

I.     INTRODUCTION

       1.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and have been

since December 2021. Prior to my employment with the FBI, I was an active-duty U.S. Army

soldier for approximately nine years. I am currently assigned to the FBI’s Milwaukee Area Violent

Crimes Task Force. This Task Force is a multi-jurisdictional law enforcement entity charged with

investigating violations of federal law, including violent and threatening criminal matters defined

under Title 18 of the United States Code. I have been trained in a variety of investigative matters

to include bank robberies, armed carjackings, threatening communication, and Hobbs Act

robberies. I have also been trained in a variety of legal matters, including the topics of Fourth

Amendment searches, the drafting of search warrant affidavits, and probable cause. I have assisted

in criminal investigations, participating in surveillance, searches, interviews, and debriefs of

arrested subjects. As a result of this training and investigative experience, I have learned how and

why criminal actors typically conduct various aspects of their criminal activities.

       2.      This affidavit is based upon my personal knowledge, training, and experience, and

on information reported to me by other federal, state, and local law enforcement officers during

the course of their official duties, all of whom I believe to be truthful and reliable. This affidavit

is also based upon police reports, citizen witnesses’ statements, law enforcement surveillance,

surveillance video, and public records which I consider to be reliable as set forth herein.

       3.      Because this affidavit is submitted for the limited purpose of obtaining a criminal

complaint and arrest warrant, I have not included each and every fact known to me concerning this




        Case 2:25-mj-00312-SCD            Filed 01/14/25      Page 2 of 7      Document 1
investigation. I have attempted to set forth only the facts that I believe are pertinent to establishing

the necessary foundation for the complaint and corresponding arrest warrant.

       4.      Based on the investigation to date, I believe there is probable cause to believe that

on May 2, and May 4, 2022, Glenn E. CONROY, JR. (DOB XX/XX/1985), hereinafter

“CONROY,” committed the following offenses: Armed Bank Robbery in violation of Title 18,

United States Code, Sections 2113(a) and (d), Brandishing a Firearm in Relation to a Crime of

Violence in violation of Title 18, United States Code, Sections 924(c)(1)(A)(ii).

II.      PROBABLE CAUSE

       5.      On May 2, 2022, at approximately 1:43 p.m., a male subject entered the Guardian

Credit Union located at 7501 West Greenfield Avenue, in West Milwaukee, Wisconsin. The man

approached the teller, C.M., produced a black semi-automatic handgun, and twice stated something

to the effect of “Give me the money.” C.M. then gave the robber approximately $3,380.00 in U.S.

currency and the robber fled the bank on foot. The robber was wearing a green hooded sweatshirt,

black pants, dark sunglasses and a white glove on his right hand. A bank surveillance image of

the robber is set forth below and labeled as “Image 1.”




                                                   2

        Case 2:25-mj-00312-SCD             Filed 01/14/25      Page 3 of 7      Document 1
                  Image 1 – Guardian Credit Union Robbery on May 2, 2022

       6.      Two days later, on May 4, 2022, at approximately 1:20 p.m., a male subject entered

the same Guardian Credit Union located at 7501 West Greenfield Avenue, West Milwaukee,

Wisconsin. The robber was wearing a white hooded sweatshirt, a blue surgical mask, dark

sunglasses, and a maroon glove on his right hand. The man approached the teller, J.L., produced

a black semi-automatic handgun, and twice stated “Give me the money.” J.L. then gave the robber

approximately $1,980.00 in U.S. currency, which were all in $20.00 bills. The robber then fled

the bank on foot. A bank surveillance image of the robber from the second robbery is set forth

below and labeled as “Image 2.”




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       Case 2:25-mj-00312-SCD          Filed 01/14/25      Page 4 of 7     Document 1
                   Image 2 – Guardian Credit Union Robbery on May 4, 2022

       7.      After the robber left the second robbery, surveillance videos showed the robber

traveling on foot to a neighboring parking lot where he was taken into custody by responding

officers from the West Milwaukee Police Department (hereinafter “WMPD”). The WMPD

officers identified the robber as CONROY. CONROY was wearing a white hooded sweatshirt

turned inside out, as well as a green hooded sweatshirt (matching the first robbery) underneath, a

blue surgical mask, and sunglasses. A search of CONROY after his arrest revealed he had a

loaded black Glock 9mm semi-automatic handgun with serial number BSMZ336, in his right front

pants pocket. A pair of maroon gloves and $1,980.00 in $20.00 bills were also found in his pants

pockets. WMPD photos of the clothing and handgun recovered from CONROY after his arrest

are set forth below and labeled as “Image 3” and “Image 4.”




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        Case 2:25-mj-00312-SCD          Filed 01/14/25     Page 5 of 7      Document 1
                   Image 3 – Gloves and handgun recovered from CONROY




                         Image 4 – Clothing recovered from CONROY

       8.     CONROY was Mirandized by the WMPD but declined to be interviewed.

       9.      On May 4, 2022, WMPD Officer Lucas Roth interviewed CONROY’s aunt, L. C.

L.C. advised that CONROY lived with her for the last several months, but most recently had been

living in an old vehicle she has parked in her back yard. On April 30, 2022, two days before the

first robbery, L.C. advised that she noticed her black 9mm Glock semi-automatic handgun, serial

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        Case 2:25-mj-00312-SCD         Filed 01/14/25     Page 6 of 7     Document 1
number BSMZ336, was missing from her residence. L.C. reported the gun stolen to the Milwaukee

Police Department that same day, on April 30, 2022. L.C. stated she suspected CONROY may

have stolen it. WMPD confirmed the handgun had been reported stolen just as L.C. stated.




                                              6

       Case 2:25-mj-00312-SCD         Filed 01/14/25     Page 7 of 7     Document 1
